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EXHIBIT 33
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DONOVAN | HATEM tp

counselors at law

Thomas D. Duquette

(617) 406-4647 direct
tduquette@donovanhatem.com
August 12, 2022

Via Certified Mail to:

Brent Martin Northwest Registered Agent Service, Inc.
Martin Partners Architecture + Design LLP — for Martin Partners Architecture + Design
5040 Geary Blvd. 82 Wendell Ave, Suite 100

San Francisco, CA 94118 Pittsfield, MA 01201

Cert. No.: 7003 1680 0000 2535 4709 Cert. No.: 7003 1680 0000 2535 4723

Re: Berylson, et al., v. 1100 Architect, P.C., et al.
Civil Action No.; 21-CV-10527-RGS
DH File No.; 24410.01089
38+44 Highgate Cease and Deslst Letter to Martin Partners Architecture

Dear Mr. Martin:

Please be advised that we represent 1100 Architect, P.C. ("1100") and its
principal David Piscuskas, FAIA (“Piscuskas”) in connection with a dispute between our
clients and John and Amy Berylson (collectively, "the Berylsons”) related to 1100's
unpaid design services rendered on behalf of the Berylsons for their home at 38 and 44
Highgate, Wellesley, Massachusetts (the “Project”), and the litigation arising therefrom.
As you likely are aware, 1100 entered into an agreement dated July 6, 2016
(‘Agreement’) with the Berylsons to perform architectural services on the Project, and
has not been paid the full fee due per the Agreement. Furthermore, on February 17,
2021, 1100 noticed the suspension, then termination of the Agreement for nonpayment
under Article 9.1 of the Agreement, effective March 4, 2021. (See the enclosed
correspondence of February 17, 2021 and March 4, 2021.)

Under Article 7.2 of the Agreement, 1100's termination of services for
nonpayment under Article 9.1 operates to terminate the Berylsons’ license to use 1100's
Instruments of Service in connection with the Project (both as defined in the
Agreement). In addition, 1100 registered the Instruments of Service with the United
States Copyright Office. (See the enclosed June 17, 2021 Certificate of Registration.)
The use and copying of the Instruments of Service are violations of 1100's intellectual
property rights, violations of the Agreement with the Berylsons, and violations of U.S.
Copyright law.

Accordingly, 1100 has requested the Berylsons to make immediate
arrangements to return to 1100 any and all electronic or hard copies of 1100's
Instruments of Service, including but not limited to those possessed by the Berylsons,
their project representative, their builder, and any subcontractor. The Berylsons have
refused to do so. We understand that you, along with architect Marc Newman, have

§3 State Street | 617406 4500 main

Boston, MA 02109 | 617 406 4501 fax
| www.donovanhatem.com BOSTON | NEW YORK NEWARK PROVIDENCE
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assumed responsibility for the Project design along with Lee F. Mindel, P.L.C d/b/a
SheltonMindel. As a design professional, we expect you will appreciate 1100's
intellectual property rights and honor them. Therefore, we hereby request that you
immediately cease and desist from further use of 1100's Instruments of Service and
return any copies of the instruments of Service in your possession (including electronic)
to the undersigned counsel.

Please confirm your intent to comply with this request, and do not hesitate to contact me
if you would like to discuss this matter in further detail.

Thank you.

Sincerely,

\ ( # Ul —

Thomas D. Duquette, Esq.
TDD/

Enclosures/Attachments

co: Via Email Only To:

William S. Rogers, Jr.
wsrogers@princelobel.com
Christopher Miller
cmiller@princelobel.com
Matthew Madden
mmadden@princelobel.com
Lauren M. Koslowsky
lkoslowsky@princelobel.com
Jim Peloquin
jpeloquin@connkavanauqh.com
Jack Van Horne
ivh@reeveandvanhorne.com
David Piscuskas

dp@1100architect.com

4859-7415-5822, v. 1
Case 1:21-cv-10527-RGS Document 114-33 Filed 04/10/23 Page 4 of 8

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CONN KAVANAUGH ROSENTHAL PEISCH & FORD, LLP

James B, Peloquin, Parmer
617-348-8205
Jpeloquin@connkavanaugh,com

February 17, 2021

 

Via e-mail and first-class mail Via e-mail and flvst-clasy mail

 

William S. Rogers Jr., Esq. Jonathan Grippo, Esq,
Prince Lobel Tye LLP Goulston Storrs

One International Place, Suite 3700 885 Third Avenue, 18" floor
Boston, MA 02110 New York, NY 10022

RE: Notice of Suspension of Services and Termination of Agreement
1100 Architect, P.C/John and Amy Berylson

Dear Counsel:

We have becn retained by 1100 Architect, P.C. (“1100”) in connection with this matter,
with which you are quite familiar, Reference is made to a certain agreement dated July 6, 2016
by and hetween Amy and John Berylson (“Berylson”) and 1100 (“Agreement”). As you know,
1100 has not been paid for its work on this project since February 4, 2020, more than one year
ago. Today, under separate cover, but incorporated herein by reference, we have filed a Demand
for Arbitration pursuant to Articles 7.2 and 8.1.4 of the Agreement. This notice is given pursuant
to Article 9.1 of the Agreement, which reads in pertinent part as follows:

ARTICLE 9 TERMINATION OR SUSPENSION

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le equitably adjusted,

On October 19, 2020, you previously were advised that Berylson was in substantial
breach of the Agreement due to non-payment for services rendered. As provided in Article 9. l,
you are hereby notified that 1100 shall suspend services on this project seven days from today.
Moreover, in 15 days, the Agreement shall be terminated unless Berylson cures the non-payment

in its entirety,

In connection with this notice and the related arbitration demand, please note that the
license granted in Section 7.2 of the Agreement shall terminate and, if necessary, we will seek
injunctive relief to protect 1100’s intellectual property,

Tam providing this notice to you in your capacity as counsel fo Berylson, If for any
reason you wish me to send it directly to your clients, please let me know immediately,

One Federal Street, 15th Floor | Boston, Massachusetts 02110 | Tel 617.482.8200 | Fax 617.482.6444 | connkavanaugh.com
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February 17, 2021
Page 2

Please do not hesitate to contact me if you would like to discuss this matter in further
detail.
Very truly yours,

os

James B, Peloquin

JBP/mjd

ce: David Piscuskas
John L. Van Horne III, Esq.
Christopher K. Sweeney, Esq.

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Case 1:21-cv-10527-RGS Document 114-33 Filed 04/10/23 Page 6 of 8

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CONN KAVANAUGH ROSENTHAL PEISCH & FORD, LLP

Janes B. Peloquin, Partuer
617-348-8205
{pcloquln@connkavannugh.com

 

March 4, 2021
Via e-mail and first-class mall Via e-mail and first-class mail
William 8. Rogers Jr., Esq. Jonathan Grippo, Esq.
Prince Lobel Tye LLP Goulston Storrs
One International Place, Suite 3700 885 Third Avenue, 18" floor
Boston, MA 02110 New York, NY 10022

RE: Notice of Suspension of Services and Termination of Agrccment
1100 Architect, P.C.John and Amy Berylson

Dear Counsel:

This follows on my correspondence of February 17, 2021, which is specifically
incorporated by reference herein, At close of business today, fifteen (15) days will have passed
since our February 17, 2021 Notice of Suspension of Services and Termination of Agreement.
Accordingly, at close of business today, 1100 Architect, P.C. (“1100”) is terminating its scrvices
under the July 6, 2016 agreement with your clients, John and Any Berylson (“Agreement”),
pursuant to Article 9,1 thereof, and as per our February 17, 2021 notice. As you know, 1100 has
not been paid for services for over a year, and nothing has changed in the past fifteen (15) days.

Additionally, under Article 7,2 of the Agreement, 1100’s termination of services for non-
payment under Article 9.1 operates to terminate your clients’ licensc to use 1100's Instruments
of Service in connection with the Project (both as defined in the Agreement), Accordingly,
please make immediate arrangements to return to 1100 any and all electronic or hard copies of
1100’s Instruments of Service, including but not limited to those possessed by your clients, their
project representative, their builder, and any subcontractor, Additionally, please confirm in
writing that all of those associated with the Project shall cease and desist from further use of

1100’s Instruments of Service.

I am providing this notice to you in your capacity as counsel to Amy and John Berylson.
If for any reason you wish me to send it directly to your client, please let me know immediately,
Please do not hesitate to contact me if you would like to discuss this matter in further detail.

Very truly yours,

a6 e—

James B, Peloquin

JBP/mjd

cc: David Piscuskas (via email)
John L. Van Horne III, Esq. (via email)
Christopher K. Sweeney, Esq.

One Federal Street, 15th Floor | Boston, Massachusetts 02110 | Tel 617.482,8200 | Fax 617.482.6444 | connkavanaugh,com
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EXHIBIT A
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Certificate of Registration

This Certificate issued under the seal of the Copyright
Office in accordance with title 17, Uvrited Srates Code,

- attests that registration has been made for the work

ez a identified below. The information on this certificate has
=} 5 been made a part of the Copyright Office records.

hein Lilncltr

United States Register of Copyrights and Director

  

Title

Registration Number

VAu 1-434-143
Effective Date of Registration:
June 17, 2021

Registration Declsion Date:
June 17, 2021

 

Title of Work: | House-on-Highgate, Wellesley MA

Completion/Publication

 

Year of Completion: 2019

 

 

Author
* Author: 1100 Architect, P.C.
Author Created: architectural work
Work made for hire: Yes
Citizen of: United States
Copyright Claimant
Copyright Claimant: 1100 Architect, P.C.

550 Seventh Ave, 22nd Floor, New York, NY, 10018, United States

Rights and Permissions

 

1100 Architect, P.C,

David Piscuskas

contact @ | ]0Qarchitect.com
(212)645-1011

550 Seventh Ave

22nd Floor

Organization Name:
Name:

Email:

Telephone:
Address:

New York, NY 10018 United Stales

Certification

 

Name: David Piscuskas

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